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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                Plaintiff,                            Case No. 19-cv-07583

       v.                                             Judge John Robert Blakey

XIE JI PING, et al.,                                  Magistrate Judge Jeffrey Cummings

                        Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on January 21, 2020 [49], in

favor of Plaintiff Tommy Hilfiger Licensing LLC (“Tommy Hilfiger”) and against the

Defendants Identified in Schedule A in the amount of five hundred thousand dollars ($500,000)

per Defaulting Defendant for willful use of counterfeit Tommy Hilfiger Trademarks in

connection with the offer for sale and/or sale of products through at least the Defendant Internet

Stores, and Tommy Hilfiger acknowledges payment of an agreed upon damages amount, costs,

and interest and desires to release this judgment and hereby fully and completely satisfy the same

as to the following Defendant:

              Defendant Name                                         Line No.
                 Lous store                                            100

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 26th day of June 2020.    Respectfully submitted,
                                     /s/ RiKaleigh C. Johnson
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